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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

      In re:                                             §
                                                         §    Chapter 11
                                                         §
      SKLAR EXPLORATION COMPANY,                         §
      LLC, et al.,2                                      §    Case No. 20-12377-EEB
                                                         §
                                                         §
               Debtors.                                  §    (Jointly Administered)


         ORDER GRANTING EX PARTE MOTION FOR EXAMINATION OF HOWARD
        SKLAR PURSUANT TO FED. R. BANKR. P. 2004 AND LOCAL BANKR. R. 2004-1

               Having considered the Ex Parte Motion for Examination of Howard Sklar (the “2004

  Motion”) filed by the Official Committee of Unsecured Creditors (the “Committee”) and the

  record of the case, and pursuant to Federal Rule of Bankruptcy Procedure 2004 and Local

  Bankruptcy Rule 2004-1, and having found good and just cause shown for the relief requested in

  the 2004 Motion, the Court

               HEREBY ORDERS that the Committee’s 2004 Motion is GRANTED; and it is further

               ORDERED that the Committee is authorized to examine Howard Sklar, individually,

  pursuant to Federal Rule of Bankruptcy Procedure 2004 and Local Rule of Bankruptcy Procedure

  2004-1 with respect to the pre-petition operation of the Debtors, as well as the Debtors’

  transactions with Howard Sklar and various related corporate entities, trusts, individuals and other

  insiders, and other issues related to this case at a date no earlier than fourteen (14) days from the

  date of service of this Order.




  2
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
  number, are as follows: Sklar Exploration Company, LLC (7930) and Sklarco, LLC (5432).
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  Dated this _______ day of __________________, 2020

                                                 BY THE COURT:



                                                 Elizabeth E. Brown
                                                 United States Bankruptcy Judge




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